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IN THE UNITED STATES DISTRICT COURT é"¢}'/ \)` 0
FOR THE WESTERN DISTRICT OF TENNESSBB / 39 sp

EASTERN DIVISION fare ' 390 4-' /
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UNITED sTATEs or AMERICA, ) 539/ry
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Plaintit`t`, )
)
vs. ) No. 1-03-10048-T
)
MICHELLE R. sMITH, )
)
Defendant. )

 

ORDER DENYING DEFENDANT’S MOTION TO COMPEL

 

On December l 1, 2003, Defendant Michelle R. Smith pled guilty to possession of a
firearm in relation to and during a drug trafficking crime in Violation of 18 U.S.C. §
924(c)(l)(2) and Was sentenced to a prison term of sixty (60) months. On March 26, 2004,
she filed a Notice of Appeal to the Sixth Circuit.

Before the court is Defendant’s motion, pro se, to compel discovery of documents
related to her criminal case pursuant to the Freedom of Information and Privacy Act
(“FOIA”), 5 U.S.C. §552. Defendant requested the documents in a letter dated August 27,
2004 and again on Septernber 28, 2004. On September 30, 2004, Defendant received a letter
from the Executive Office for United States Attorneys (EOUSA) stating that the request had
been received, however, because her request was Wide in scope, it would take approximately

nine months to process. Defendant states that the EOUSA has not yet complied With her

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request and files this motion. For the following reasons, Defendant’s motion is DENIED.
The Freedorn of Information Act was enacted to afford the public greater access to
government “records.” Departrnent of Air Force v. Rose, 425 U.S. 352, 365-66 (1976). The
FOIA obligates an agency to “determine within 20 days... after the receipt of [a FOIA]
request whether to comply with such request.” 5 U.S.C. § 552(a)(6)(A)(i). The statute
confers upon the district courts jurisdiction “to enjoin [an] agency from withholding agency
records and to order the production of any agency records improperly withheld from the
complainant.” 5 U.S.C. § 552(4)(B). Although the FOIA provides for judicial review of
adverse determinations, the statute also prescribes an administrative appeal process that a
party must exhaust before seeking redress from the court. Under this provision, the agency:
shall immediately notify the person making the request of [a denial] and the
reasons therefore, and of the right of such person to appeal to the head of the
agency any adverse determination; and... make a determination with respect
to any appeal within twenty days... after the receipt of such appeal. If on
appeal the denial of the request for records is in whole or in part upheld, the
agency shall notify the person making such request of the provisions for

judicial review of that determination under [the aforementioned provision
allowing district court review].

5 U.S.C. § 552(a)(6)(A)(i)-(ii). Thus, a party must receive a denial from the agency, appeal
the denial to the head of the agency, and be denied access to the records on appeal.

In the present case, Defendant has received no such denial from the EOUSA. The
last correspondence from the EOUSA, dated September 28, 2004, stated that her request
would be processed approximately nine months from the date of the letter. Accordingly, the

EOUSA has until approximately June 30, 2005 to provide the requested documents to

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Defendant. Needless to say, Defendant has not yet received a first adverse determination
from the EOUSA, much less a second denial which would warrant judicial review.1

In addition, although the FOIA sets forth a twenty-day time limit to respond to
document requests, these time limits “may be extended by written notice to the person
making such request setting forth the unusual circumstances for such an extension and the
date on which a determination is expected to be dispatched.” 5 U.S.C. § 552(a)(6)(B)(i).
“Unusual circumstances" include “the need to search for, collect, and appropriately examine
a voluminous amount of separate and distinct records which are demanded in a single
request....” 5 U.S.C. § 552(a)(6)(B)(iii).

Defendant’s request asked for “all information about myself in criminal case files,”
therefore, the EOUSA correctly determined that her request was an unusual circumstance
that may extend compliance beyond the prescribed twenty-day period. Consequently, the
EOUSA is not bound by the twenty-day time limit imposed by statute and may take
approximately nine months in accordance with the September 30th letter. As a result,

Defendant’s motion to compel discovery of documents related to her criminal case pursuant

 

1 Although Defendant’s motion states that “as of April 29, 2005, the EOUSA states that
they do not have such records because they are still in the District Court,” Defendant has
submitted no evidence to support this statement Defendant’s Motion to Compel, at 11 4. Thus,
Defendant has failed to demonstrate that her request has received a first denial from the EOUSA.
Further, to the extent that Defendant may be attempting to compel production of records within
possession of the court, she should be aware that the court is exempt from the Freedom of
Information Act. E United States v. Cass, 376 F.3d 20 (lst Cir. 2004); F.D.I.C. v. Ernst &
M, 677 F.2d 230 (Z"d Cir. 1982); Warth v. Departlnent of.'fustice, 595 F.2d 521 (9th Cir. 1979);

§ogk v. willingham, 400 F.2d 885 (10th Cir. 1968).
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to the Freedom of Information and Privacy Act, 5 U.S.C. §552, is DENIED.

IT IS SO ORDERED.

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JA D. TODD
UNI ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case l:03-CR-10048 was distributed by fax, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

